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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                §    CRIMINAL NO. 4:13CR293 RAS/DDB
                                                   §
 JULIO JACOB VASQUEZ (3)                           §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on May 22, 2015 to determine whether Defendant violated his supervised

 release. Defendant was represented by Robert Arrambide. The Government was represented by

 Camelia Lopez.

        On October 10, 2014, Defendant was sentenced by the Honorable Richard A. Schell, United

 States District Judge, to a sentence of 13 months imprisonment followed by a 3-year term of

 supervised release for the offense of Conspiracy to Possess Stolen Mail. Defendant began his term

 of supervision on December 10, 2014.

        On March 23, 2015, the U.S. Probation Officer filed a Petition for Warrant or Summons for

 Offender under Supervision (the “Petition”) (Dkt.140). The Petition asserts that Defendant violated

 the following conditions of supervision: (1) Defendant shall not commit another federal, state, or

 local crime; (2) Defendant shall refrain from any unlawful use of a controlled substance; (3)

 Defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute,

 or administer any controlled substance, or any paraphernalia related to any controlled substances,

 except as prescribed by a physician; (4) Defendant shall refrain from the consumption of alcohol;

 (5) Defendant shall report to the probation officer and shall submit a truthful and complete written

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 report within the first five days of each month; (6) Defendant shall notify the probation officer within

 seventy-two hours of being arrested or questioned by a law enforcement officer; (7) Defendant shall

 pay a $100 special assessment and restitution in the amount of $5,714.61, on a monthly basis at the

 rate of at least 10% of his monthly gross income; (8) Defendant shall participate in a program of

 testing and treatment for drug and alcohol abuse, under the guidance and direction of the U.S.

 Probation Office, until such time as Defendant is released from the program by the probation officer.

 Defendant shall pay any cost associated with treatment and testing.

         The Petition alleges that Defendant committed the following violations: (1) On February 21,

 2015, Defendant was arrested by the Mesquite, Texas, Police Department for the offense of Theft,

 over $50, less than $500.      According to the offense report, Defendant attempted to return

 merchandise for which he had no receipt, and then left the store without paying for two pool pumps

 valued at approximately $338. Defendant was booked into the Dallas County Jail and was released

 on bond on February 22, 2015; (2) During an office visit on December 11, 2014, Defendant admitted

 verbally and in writing to using cocaine on December 10, 2014. Additionally, Defendant submitted

 urine specimens that tested positive for cocaine on January 12 and 27; February 12 and 17, 2015.

 Defendant either admitted usage and/or the specimens were confirmed positive by Alere

 Laboratories, Inc.; (3) During an office visit on December 11, 2014, Defendant admitted to

 consuming alcohol on December 10, 2014; (4) On January 21, 2015, and February 26, 2015,

 Defendant failed to report for scheduled office visits at the U.S. Probation Office. He also failed to

 submit a written monthly report for the months of January and February 2015; (5) Defendant failed

 to notify the probation officer of his arrest by Mesquite, Texas, Police Department on February 21,

 2015; (6) A payment schedule was executed on January 12, 2015, wherein Defendant agreed to make


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     payments of at least $50 per month beginning on February 1, 2015. Defendant has not made any

     payments toward the special assessment and restitution balances; and (7) Defendant failed to attend

     substance abuse treatment sessions at Pillar Counseling in Plano, Texas, on January 13, and 23; and

     March 3, 2015.

             At the hearing, Defendant entered a plea of true to the alleged violations. Defendant waived

     his right to allocute before the district judge and his right to object to the report and recommendation

     of this Court. The Court finds that Defendant has violated the terms of his supervised release.

                                           RECOMMENDATION

             Pursuant to the Sentencing Reform Act of 1984 and having considered the arguments

.    presented at the May 22, 2015 hearing, the Court recommends that Defendant be committed to the

     custody of the Bureau of Prisons to be imprisoned for a term of ten (10) months, with no supervised

     release to follow. The Court further recommends that Defendant’s term of imprisonment be carried

     out in FCI Bastrop, if appropriate.

          SIGNED this 8th day of June, 2015.

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                                                   ____________________________________
                                                   DON D. BUSH
                                                   UNITED STATES MAGISTRATE JUDGE




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